 8:05-cr-00183-LSC-FG3              Doc # 27   Filed: 07/18/05    Page 1 of 1 - Page ID # 41




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:05CR183
                                                  )
MARIA PARTITA,                                    )                 ORDER
                                                  )
                       Defendant.                 )



      Before the court is defendant’s Motion to Continue Plea Hearing [26]. The government
does not object to the continuance.

         IT IS ORDERED:

         1.     That the defendant Motion to Continue Plea Hearing [26] is granted;

         2.     That the Change of Plea hearing is continued to August 2, 2005 at
                3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6,
                Second Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha,
                Nebraska.

        For this defendant, the time between July 14, 2005 and the hearing on the anticipated
plea of guilty is excluded for purposes of computing the limits under the Speedy Trial Act. See
18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 18th day of July, 2005.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
